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                             Declaration of Gillian Rowland-Kain

I, Gillian Rowland-Kain, make the following declaration based on my personal knowledge and
declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and
correct:

   1. I am Interim Director of Programs at the Immigrant Advocates Response Collaborative
      (“I-ARC”). I-ARC is a coalition of immigration legal advocates that works on increasing
      access to justice and access to counsel for all immigrant New Yorkers. I-ARC networks
      New York State’s legal service providers by facilitating communication and information
      sharing to better support our immigrant communities; responds collectively to challenges
      as they arise by coordinating resources and fostering best practices among providers; and
      challenges anti-immigrant policies by shining a light on injustices and confronting
      inequalities faced by our communities in the legal system.

   2. In my capacity as Interim Director, I oversee the Legal Access and Membership and
      Capacity teams. My primary responsibilities include managing the day-to-day operations
      of the programs team, including facilitating team meetings, serving as the primary liaison
      between the programs team and organizational leadership, and overseeing the execution
      of key initiatives. I also lead I-ARC’s rapid response efforts and other legal access
      programs such as the Friend of the Court initiative.

   3. I-ARC operates its Friend of the Court Program to meet the needs faced by our member
      organizations and the overwhelmed immigration court system. The Friend of the Court
      ensures newcomers have access to legal help, orientation, and referrals when they appear
      before an immigration judge (“IJ”). Our model allows volunteers to assist pro
      se respondents in navigating the complex immigration court system, and thereby creates
      greater efficiency and fairness by helping respondents better understand court
      proceedings.

   4. Our Friend of the Court programming runs at the immigration courts at 290 Broadway,
      New York, NY on Thursday mornings and 201 Varick Street, New York, NY on Tuesday
      mornings. Friend of the Court volunteers assist pro se respondents and conduct a brief
      screening, assist with change of address forms, answer questions respondents may have,
      and stand with them during their initial hearing to help resolve any administrative issues
      preventing the case from moving forward.

   5. Beginning on May 21, 2025, I-ARC began receiving reports from member organizations
      of arrests at two of the three New York City Immigration Courts (290 Broadway and 201
      Varick Street) and the Buffalo Immigration Court. I-ARC’s members noted that the
      Office of the Principal Legal Advisor (“OPLA”) was moving to dismiss proceedings if
      the individual was apprehended within two years of entry into the US and/or for
      individuals who have been in the US for longer than one year and who have not yet filed
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   an application for relief. Initial reports indicated OPLA appeared to be alerting
   Enforcement and Removal Operations (“ERO”) before they moved to dismiss so ERO
   could target individuals for expedited removal. ERO officers were reported in both
   uniform and in plain clothes in the hallways and/or outside bathrooms of the courtroom
   buildings. Member organizations reported that four pro se individuals were detained at
   the Buffalo immigration court, and an additional four pro se individuals were detained at
   290 Broadway on May 21, 2025.


6. As a result, I-ARC organized our Steering Committee, made up of fourteen non-profit
   legal service providers and pro bono law firm representatives, to determine how we, as a
   coalition, could be responsive to the needs pro se individuals are now facing when
   lawfully appearing for their scheduled immigration hearings. The following week,
   additional reports continued to be shared amongst the I-ARC networks of further arrests
   at all three of the New York City Immigration Courts and the Buffalo Immigration Court.

7. On May 29, 2025, I was present at 290 Broadway to observe master calendar hearings
   before IJ James M. McCarthy as part of our Friend of the Court program. I observed
   counsel for the government move to dismiss the removal proceedings of four individuals,
   and ICE officers arrest and detain three of those individuals after their court hearings.

8. Before the master calendar hearings began, the Clerk of Court informed me that the
   removal proceedings of all the respondents scheduled for their initial hearings would be
   dismissed. I clarified if their cases were being dismissed so that the respondents could be
   placed in expedited removal. The clerk responded, “yes.” I asked if the pro se
   respondents would then be detained by ERO. The clerk responded, “yes,” and shared that
   ERO was waiting by the elevators. I mentioned I had not seen the ERO agents, and the
   clerk stated they were in plain clothes. This exchange made clear that the government had
   informed the immigration court ex parte that it intended to seek the dismissal of
   respondents’ removal cases, place them in expedited removal, and detain them.

9. IJ McCarthy heard seven cases that morning. In all of the cases I-ARC assisted, the
   respondents were unrepresented and proceeding pro se.


10. Once the hearings began, the Assistant Chief Counsel (“ACC”) appearing for the
    government did not provide her name on the record, and IJ McCarthy declined to require
    that the ACC provide her name. At the conclusion of the hearings, I asked the ACC what
    her name was, and the ACC stated that she would not tell me. The IJ asked what was
    going on, and when I explained, he said that was between us and he would not get
    involved. The ACC has since been identified as ACC Cosette Shachnow.
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11. In four of the seven the cases heard that day, ACC Shachnow orally moved to dismiss the
    respondents’ ongoing removal proceedings. (For the cases not dismissed, there were two
    family units and an individual who changed venue). The government had provided no
    notice of its intention to move to dismiss to the respondents prior to the hearing. When
    the ACC made the first motion to dismiss, IJ McCarthy asked if the ACC had submitted a
    written motion; she replied no. The IJ then asked if there was a reason she did not do so,
    and the ACC replied, “no,” and the IJ did not press the matter further. By May 29, it was
    generally known—based on public statements by the Trump administration and the
    events in immigration courts both in New York and nationwide—that the government
    was seeking the dismissal of removal proceedings in order to place individuals in
    expedited removal. However, when asked by IJ McCarthy for the grounds of her motion
    to dismiss, the ACC stated only that it was no longer in the best interest of the
    government to continue removal proceedings. In one query, the IJ asked the ACC what
    circumstances had changed, and she simply replied, “circumstances.” The ACC did not
    inform any of the respondents of the government’s intention to detain them or to place
    them in expedited removal.


12. For each individual, after confirming the individual’s address was correct and marking
    the Notice to Appear (“NTA”) as an exhibit of the court, the IJ, in an atypical move, then
    asked the ACC if the government wanted to make a motion—further evidence of the
    apparent ex parte communication. Where the ACC moved to dismiss, the IJ granted the
    respondent ten (10) days to respond in writing. The IJ encouraged each respondent to talk
    to a lawyer about the government’s motion and stated there would be legal ramifications
    for their failure to respond. However, the IJ did not explain that the respondent faced
    potential arrest and detention or placement in expedited removal—despite widespread
    knowledge that the government was engaged in such activity.


13. For each of the four individuals the government had moved to dismiss, the IJ set
    individual hearings for late 2026 and early 2027. Each of four individuals was pro se and
    was extremely nervous and concerned about their cases, and asked for more time to find
    an attorney to help them complete the process. One individual explained that he had
    recently been hit by a car and needed more time.


14. One of the individuals—a person from Ecuador—admitted on the record that they had
    entered the country without inspection in Arizona in 2023.


15. Three of the four individuals whose proceedings the government moved to dismiss had
    asylum applications pending in the immigration court.
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   16. After the hearing, U.S. Immigration anad Customs Enforcement (“ICE”) officers—who
       had stationed themselves in the elevator and lobby areas of the courthouse—arrested
       three respondents whose proceedings the government had moved to dismiss. The officers
       were waiting in the lobby with both printed photos and photos on their phones of the
       respondents. As the Friend of the Court team exited the elevators at around 11:20am with
       the respondents from the hearing, ICE referred to a list and their photos and immediately
       surrounded the three respondents as we were escorting them to the exit. The ICE officers
       separated the respondents, brought them to a corner where they zip-tied their hands, and
       escorted them to a confined area of the building in an unknown location. While I was in
       the lobby, a male respondent from a different courtroom who was attempting to exit was
       also arrested and yelled, “Film this! I have family in the Bronx.”


   17. ICE’s arrests in the immigration court have caused significant fear in the immigrant
       community. This is entirely unprecedented activity in New York’s immigration courts. As
       a result of ICE’s actions, we have seen a stark decrease in the number of respondents we
       help each week through our Friend of the Court program. For example, in prior months,
       we would easily assist between forty to sixty pro se individuals on IJ McCarthy’s
       Thursday Master Calendar Hearings; however, on May 29th, there were merely seven
       individuals and family units who appeared. This is the same pattern across the other
       courtrooms we regularly assist with Friend of the Court. I have never witnessed this level
       of fear among immigrant clients in my two years of practicing immigration law. Those
       noncitizens who do not appear for their immigration court hearing may receive removal
       orders in absentia.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on June 2, 2025


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Gillian Rowland-Kain
